Case 1:25-cv-00028-AW-MJF Document1 - Filed 01/27/25 Page 1 of 24

NORTH FLORIDA FEDERAL COURT
GAINESVILLE
CASE # _|:25CV28 A/a TBA

KAIN Is-REAL A.K.A KEVIN BURNS

PO BOX 555, OLD TOWN FLORIDA 32680

FDOC # R-26329 &
PRESIDENT DONALD J TRUMP

1600 PENNSYLVANIA AVE NW, WASHINGTON, DC 20500

NYDOC # UNKNOWN &

DEPARTMENT OF GOV. EFFICENCY
&

1100 S. OCEAN BLVD. PALM BEACH, FL 33480

DEPARTMENT OF JUSTICE

950 PENNSYLVANIA AVE., NW, WASHINGTON Dc 20530 &
UNITED STATES CONSTITUTION
AND EVERY AMERICAN CITIZEN

Ad D Mebe And

Ev dena |

abl,
Case 1:25-cv-00028-AW-MJF Document1 - Filed 01/27/25 Page 2 of 24

LOCATED IN THE UNITED STATES OF AMERICA

Vs.
THE STATE OF FLORIDA

400 S. MONROE ST TALLAHASSEE, FLA. 32399 &

THE RULE OF LAW.

A FIRST AMENDMENT CIVIL RIGHTS CASE THAT ASKS A VERY SIMPLE
BUT VERY IMPORTANT FEDERAL QUESTION THAT EFFECTS THE
POOR AND MENTALLY ILL TO THE PRESIDANT OF THIS GREAT
COUNTY.

1. JURISDICTION CAN BE FOUND IN THE FOUNDING FATHERS
UNITED STATES CONSTITUTIONAL.

2. CERTIFICATE OF INTERESTED PERSONS ARE EVERY CITIZEN OF
THE UNITED STATES OF AMERICA.

3. FEDERAL QUESTION TO BE ANSWERED;

1. DOES BEING "DULY SWORN" _TO GIVE A WITNESS STATEMENTS
OF FACTS AS A LAW ENFORCEMENT OFFICER, JUDGE OR COUNSEL
GIVE THAT PARTY THE LEGAL RIGHT TO PROVIDE THE COURT WITH
FALSE OR FABRCATED STATEMENT WITH IMMUNITY EVEN IF IT
CAUSE GREAT AND SERIOUS HARM IN VIOLATION OF THE

UNITED STATES CONSTITUTION?

2. DOES A JUDGE WHO WITNESS'S A DOCUMENTED CRIME BEING
COMMITTED BEFORE THEM IN THE RECORD OF LAW THAT THEY
ARE MAKING A RULING OF LAW ON, LOSE THERE QUILIFIED
IMMUNITY PROTECTIONS LIKE SEEING A CASE THAT ONLY HAS A
PROBABLE CAUSE WITNESS STATEMENT WROTE BY A DULY SWORN
LAW ENFORCEMENT OFFICER AND A TAPED CONFESSION APART OF
COURT RECORD USED TO PROSCUTE A CHILD CHARGE AS AN

(8)

Case 1:25-cv-00028-AW-MJF Document1 Filed 01/27/25 Page 3 of 24

ADULT FOR BURGLARY OF AN UN BUILT HOME THAT HAD NO CHAIN
OF CUSTODY FOR THE ONLY EVIDENCE THAT WAS: A TAPED
CONFESSION OF A BAKER ACTED CHILD WHICH PROVES THE
CRIME OF FALSE IMPRISONMENT UNDER THE UNTIED STATES
CONSTITUTION AND THE SECOND EXSAMPLE IS THE FACT AN
EX-JUDGE COUNSEL FILE A DULY SWORN COMPLAINT SAYING A
SCHIZO TENANT HAD NOT PAID HIS RENT WHILE BEING IN
POSSESSION OF MY RENT CHECK THAT WAS NOT RETURNED UNTIL
TWO DAYS AFTER FILING THE COMPLAINT THAT WAS IN VIOLATION
OF THE UNITED STATES CONSTITUTION?

4. STATEMENT OF FACTS

a. 2001 was the first time iseen the words duly sworn as a child
charged as an adult for burglary of a home not built until the year after i
was convicted. That the only evidence to the crime was a probable cause
witness affidaivit statement wrote by a duly sworn law enforment officer
and a taped confession that had no chain of custody to prove it was real
and on the advise of legal counsel who knew i was baker acted and
intoxicated when i made my statments but said i would spend the rest
of my life in prison because i was facing 90 years in prison, if i did not
accept the _ six years in prison the state was offering because they
had my confession i made while baker acted after cutting my wrist
while on L.S.D like my 911 call stated. That while in prison i found the
burglary investigation report to the burglary charges that stated under
penalty of purjury that i did not commit any crimes as did my written
confession?

». SEE EXHIBIT PAGE | 10 THAT HAVE
BEEN ALTERED FOR READING ATTENTION OF THE PUBLIC BUT
ORINGINALS WHERE FAXED TO ssa ALONG WITH MY WRITTEN
CONFESSION THAT ALSO SAID I DID NOT COMMIT ANY CRIMES that
are apart of the federal case file SSAvs BURNS.

c. In the begaining of 2024 was the second time in my life that i seen
duly sworn when the land owner/ creator that i had a life time lease
agreement with, file tohave me evicted for none payment of rent

while being in possession of my 666 dollar rent payment that over paid

(C)

Case 1:25-cv-00028-AW-MJF Documenti- Filed 01/27/25 Page 4of 24

my rent by several month that on 1/23/25 florida assisstant state
attorney jarrett thomas and sgt jason vil delt of the dixie county sheriffs
office said these actions where not acrime or filing a falifed
statement with the court to only cause harm because they did not cash
the rent check anddid return it to me three days after filing the duly
sworn fraudulent complaint statement, however later that night stg. van
nile called me at 6:55 pm and made threats to my Wbeeae 1 liberity
saying he seen me on video attacting a state attorney. “which is a clear lie
cause had i done something illegal they would have arrested me not
threatened me.

SEE EXHIBIT PAGES ( I!- 20 ) THAT ARE ORINGINLS OR
TRUE AND CORRECT COPYS OF THE ORGINALS, BECAUSE IT CLEAR
AND SIMPLE WHAT WAS DONE.

I kAIN Is-REAL swear upon my soul and life against the souls and lifes
of those involved in this complaint that i have told the truth to the best of
my knowledge and did not fake or tell lies about anything said or
provided.

THE THIRD TIME I HEARD THE WORD DULY SWORN WAS WHEN
PRESIDENT DONALD JOHN TRUMP WAS CONVICTED FOR HIS
BILLION DOLLAR RESIDENCE BEING ONLY WORTH 18 MILLION BY A
DULY SWORN STATEMENT ( THAT I HAVE NOT PERSONALLY SEEN
BUT HEARD SO NO EVIDENCE TO THIS CLAIM WILL BE MADE)

CERTIFATION OF SERVICE

[WILL MAILED A COPY OF THE ABOVE PETITION TO ALL PARTYS
LISTED ADDRESS & NORTH FLORIDA FEDERAL COURT ASSISTANT
ATTORNEY GENERAL AT 111 N. ADAMS ST. TALLA, FLA 32399 &
CHEIF JUDGE SHAWN CRANE AT 7530 LITTLE ROAD, NEW PORT
RICHEY FLORIDA, FLA 34654 & CHIEF JUDGE MELISSA OLIN FOR
3RD JUDICAL CIRCUIT AT 173 NE HERNANDO AVE, LAKE CITY, FLA
32055 DATE 1[27/2s KAIN IsREAL A.K.A KEVIN BURNS

F-DOC-R26329 of
NON-LAWYER SELF SCHIZO COUNSEL
PO BOX 555, OLD TOWN, FLORIDA 32680
Case 1:25-cv-00028-AW-MJF Document1 = Filed 01/27/25 Page 5 of 24

\
(10)

Case 4:20-cv-00541-WS-HTC Document 28-6 Filed 07/09/21 Page 1 27H AED ‘id. S008
January 22, 2019 PAGE: 7 OF 414

To Whom It May Concern: (
RE: Kevin Burns

Kevin Lee Bus was bor March 26, 1984 in Dade City, Florida, as Kevin Lee
Rogers. He was raised and eventually adopted by his greai-grand parents, Davey
and Helen Burns, who have both passed away. My name is Chery] (Rogers)
Gooldin, Kevin’s birth mother and grandchild of Davey and Helen Burns.

[have been in and around Kevin during most of his life. He has a history of
mental health issues/concems. He has maultiple psychological issues.

In 2006 we allowed Kevin Bums to move in to our home, with the
understanding that he get a job and pay rent. In the beginning we lent him one of
our cars, until we got him one of his own. He hid a plumbing job at a new school
construction site. One day Kevin and I we talking and he got mad and started
acting out, My husband and I left and when we retumed home we noticed a blood
trail ieaiting to the garage. We found Kevin in the garage ciitting himself. He was
not making any sense, We got him cleaned up, bandaged and put him to bed. My
busband and I talked about what we were goin; to do. We decided to’ Baker Act
him. Kevin begged and pleaded with us to wait until the morning.So we did, In the
moming Kevin was gone. I had no contact with him until he was sentenced to
prison for violating probation for a crime he committed when he was
approximatsly 16 years old. {Another incident that involved an attempted suicide
and a psychological exam.} He was always ina prison that supervised prisoners
with mental health issues.

In 2015 5, Kevin once again asked for a place td sens We noticed multiple “cuts”
on his arms and legs. He had been cutting himself. I saw a police report where
Kevin had tried to seek treatment at a mental facility in Manateé county. He was
denied entry and went to Walmart, bought razor blades and deeply cut his wrist.
The Bradenton Police Dept. initiated an Involuntary examination.

Kevin retumed to New Port Richey and stayed for a while. On day Kevin came
oy our business and asked for money, a lot of money, I said no and he got very
upset and left. He was gone when I got home. He started sending very nasty text
and things spiraled out of control. I applied for and was granted an order of
protection.

It was almost a year before I was contacted by an attorney for the Manaiee
Memorial Hospital who inform me that Kevin was inacoma on life support.He £ | >
has been diagnosed with several mental health issues. His good days are good, bute a e)
nis bad days are bad. He had been baitling es issues for most of his life.

Cheryl Gooldin Bay SHeowAS se) why le vx

CAI

aT] proper with bt Blt
Case 1:25-cv-00028-AW-MJF

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Filing # 195370171 E-Filed 04/03/2024 10:57:19 AM

IN THE COUNTY COURT
IN AND FOR DIXIE COUNTY, FLORIDA.
JOHN GOOLDIN and
CHERYL GOOLDIN,
Plaintiffs,
¥. CASE NUMBER: 15-2024-CC-
KEVIN BURNS
Defendant.

/

COMPLAINT FOR TENANT EVICTION

PLAINTIFFS, John Gooldin and Chery! Gooldin, sue Defendant, Kevin Bums, and allege:

1.

2.

aA

ON

This is an action to evict a tenant from real property in Dixie County, Florida.

Plaintiffs own the following described real property in Dixie County, Florida,
particularly described as 1498 NE 239TH Avenue, Old Town, Florida 32680.

Defendant has possession of the property under a written agreement to pay rent of
$50.00 a month payable by the 5 of each month. The agreement also provides that
“failure to pay the monthly fee for a period of 6 or more months will void this

agreement.” The agreement is attached and made part of this Complaint as
Plaintifi’s Exhibit A.

Defendant failed to pay rent (fee) due for a period of six months, commencing
August, 2023.

On March 1, 2024, Plaintiffs served Defendant with a notice of intent to terminate
lease per section 83.57, Fla.Stat.. As of April 1, 2024, Defendant has not moved

vacated the premises. A copy of this notice is attached to, and made part of, this
Complaint as Plaintiff's Exhibit B.

Plaintiffs are entitled to the summary procedure provided in Florida Statutes
Chapter 51.

Plaintiffs are entitled to an award of costs and reasonable attorney’s fees pursuant
to Florida Statutes Sections 83.59(4) and 83.625.

WHEREFORE Plaintiffs demand judgment against Defendant for the following:

L.

Electronically Filed Dixie Case # 24000035CCAKMX 04/03/2024 (6:57:19 AM

For possession of the property.
Case 1:25-cv-00028-AW-MJF Documenti Filed 01/27/25 Page 7 of 24

The amount of rent due, unpaid and owing.
Costs and reasonable attorney fees.
And for further relief the court deems fair and proper.

eb

+

VERIFICATION

STATE OF FLORIDA
COUNTY OF ‘PASO

We, John Gooldin and Cheryl Gooldin, being duly sworn, say we are the Plaintiffs in the
above-entitled action. We have read the foregoing complaint and know the contents of the
complaint. The contents are true to the best of our knowledge.

John Gooldin

SUBSCRIBED AND SWORN TO BEFORE ME on April An , 2024, to certify my hand

and official seal.
menasany \NQ (Dn)
{

“Notary Public - State of Florida
Notary Public

: Commisston # HH 120532
orpee My Comm. Expires Apr 22, 2025 y

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peas,
Je

THE GRIFFIS LAW FIRM, LLC.

By:_Stanley H. Griffis I
STANLEY H. GRIFFIS, tl
Florida Bar No. 118755
13 SE 18! Avenue
Chiefland, Florida 32626
Tel.: (352) 535-2948
E-Mail: Stan@GriffisLawOffice.com
Attorney for Plaintiffs

Case 1:25-cv-00028-AW-MJF Document1 Filed 01/27/25 Page 8 of 24

April 5, 2024

GAINESVILLE PHONE
352-681-4529

Kevin Lee Burns
Via hand delivery
} eee cearye
CHIEELAND PHONE Through process server
352-535-2948

a
co

Gooldin v. Bums

Dear Mr. Burns;

stad 4 5 in. Said
Please find attached the payment you provided to Mr. and Mrs. Gooldin. Said
payment is not being accepted and is being returned.

CRIMINAL DEFENSE

Sincerely,
CIVIL LITIGATION

/s/ Stanley EL. Griffis
EMINENT DOMAIN
PERSONAL INJURY Stanley H. Griffis [fl
AND WRONGFUL DEATH
ESTATE PLANNING,
PROBATE AND
GUARDIANSHIP

gtr ah ec tava ye Un NEP SSDEN A aRAERSTSRES SAIEE eb rated

rAMUILY LAW

sans

FLORIDA SUPREME COURT
CERTIFIED CIRCUIT
CIVIL MEDIATOR

GRIFFISLAWOFELCE.COM

MAIL:
{7 SEUIST AVE.
Filed 01/27/25 Page 9 of 24

Document 1

Case 1:25-cv-00028-AW-MJF

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Case 1:25-cv-00028-AW-MJF

Document 1 Filed 01/27/25 Page 10 of 24

NOTICE OF INTENT TO TERMINATE LEASE

To: KEVIN LEE BURNS
1500 NE 239" Avenue
Old Town, Florida 32680

Date:

We, John W. and Cheryl L. Gooldin, as your landlord for the property located at 1498 NE
939 Avenue, Old Town, Florida 32680, hereby notify you that we are hereby terminating and

voiding our lease for failure to pay xent for at least six consecutive months.

Pursuant to the Florida Statute §83.57, this letter represents official notice to terminate the

tenancy for the lease signed on April 1, 2020, of which there was no security deposit placed.

Kevin Lee Burns, along will all possessions, shall be required to vacate the premises by

March 31, 2024.

Hand delivered

Posted.

7 Thm W. Gooldin ——
6250 7" Avenue

New Port Richey, Florida 34653

6250 7" Ave
New Port Richey, Florida 34653

Serveq (3 (0 5
rte 5
Serva; “y) 3 9.
ID# pe

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Case 1:25-cv-00028-AW-MJF Document1i Filed 01/27/25 Page 11 of 24

MICHELS &
LUNDQUIST

FUNERAL HOME & CREMATION SERVICES

Sevim Buens DK oP fed
CLE £3CO.0CO CHSH

FOR. Chery | Coolkbiny Ore
nee 'l, 2023 (21406

| . a fy Y ‘lll
Received OY pC belly
Jen FH Myt5
727-845-1957

5228 Trouble Creek Rd. - New Port Richey, Florida 34652
www.Michels-Lundquist.com

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Case 1:25-cv-00028-AW-MJF Document1i- Filed 01/27/25 Page 12 of 24

e 2 prs

COUNTY COURT OR CIRCUIT COURT ~ CRIM
PASCO COUNTY, FL ORTDA

Gl v3 | | Gfece/

INAL DIVISION

STATE OF FLORIDA

Vv. WITNESS AFFIDAVIT
KEVIN LEE BURNS -
SPN 00257999 Ib
BEFORE. ME, A NOTARY PUBLIC, personally appeared Det.’ Steven

Greiner, who being duly sworn says that the events hereinaftér. set

Forth occurred in Pasco County, Florida:

Your Affiant, a sworn law enforcement officer with the, , Pasco

County Sheriff's Office, had occasion to become involved in the

investigation of Burglaries of a Dwelling,

Grand Theft and six

which occurred on or between April 21,

Petit Thefts, 2001 and April
30, 2001.

Your Affiant had occésion to come in Contack with tha

DEFENDANT KEVIN LEE BURNS on an. unrelated matter. Peeing the

course” of coming into contact With the DEFENDANT, the DEFENDANT.

adwised your Affiant chat he Wanted ‘to come clean and confessed &

all these burglaries that he had committed. The DEFENDANT then

advised your Affiant that, -between the above listed datas and

times, he did in fact burglarize a dwalling located at 10210

Rudolph Lane in San Antonio, Florida. That dwelling belonging to

Jay Mitchell and/or Saber Construction and did in fact remove $100

or more but less than $300 of construction Materials from the

dueling.

Wherefore, your Affian® then spoka to Jay Mitchell who advised

your Affiant that the DEFENDANT did not have permission to enter

the dwelling nor to’ take any of the property. furthermore, the

riot air 7 Oy eM bo ots
F wi eae aye At Ss : fet ip to? “a ves . . oe ?
a i “ig ‘ : { > 4 =~ , 4 fee ‘ - \ ‘ ,
- Case 1:25-cv-00028-AW- Mit

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8

ewise entered a residence

at 30501 Double Drive, Wesley Chapel, belonging to Bobby Niswonger

and/or Maronda Homes, He further Stated that once inside he
Femoved $100 or More worth gf construction Material,

Your Affiant
Spoke to Bobby

Niswonger who advised the DEFENDANT did not nave

Permission to enter the dwelling nor to Cake any of the materials,

Your Affiant Was further advised Dy the

DEFENDANT that he also

burglarized a home located at 32042 Broo
Chapel belonging

Homes , Once Fesidence, he did

Construction Materials Worth less than $100.

Your Affiant Spoke to William Hashagen who advised that no one

dwelling nor to take the construction

Chapel,

Your Affiant again spoke to William Hashagen who advised the
DEFENDANT did not have Permission to enter the dwelling nor to take
any of the Materials,

Your AEFFiant Was further advised by the DEFE

in fact remove 39 Sheets of Plywood from a construction site with

the value of $300 or more but less than $5,000.
as

eo D- 4]

wn Page 14 of 24
By

Your Affiant requests this Honorable Court to find Probable
Cause for six Counts of Burglary of Dwelling, Six Counts of Petit
Theft; and ONS count of Grand Theft, Contrary to Florida Statutes
810.02/812 .014/812.014, against the Defendant.

The foregoing instrument was KL AG

acknowledgad Before me this O2 AI iw

day of Lhe » 2001 by AFFIANT
STEVEN CRI wer r

who is personally known to ma

OF has protteted st

as identification and who did /2C 29

take an Oath,

DALE DsCHANT 55 2- SRE

NOTARY PUBLIC AFFIANTTS TELEPHONS NUMBER
ERS, Dale DeChaa}
a Ge fa MY Cosmascion a CCU1373 exeiRes
Stati April 3, 2093
ans

sore 31725 TAU TROY FAN HSIRANCE, INC,

Court -

Criminal Division, Pasco County

Florida

FINDING oF PROBABLE CAUSE

I; MAYNARD . SWANSON have reviewad this affidavit

and do find there is/ishot-pFobable Cause to hold

and bind over
for trial the defendant Named in this

affidavit.

5601-23535; sf01~23593.

SE01-23505;
SEOL-2349S; Sh01~23499,

SE01-23500; 3E01-235497,
9612sa/mg21

10;
Hersch R E CE IVE C) 12248 U8, Wianway ant

Way JO1
DADE CITY, FLORIDA $9526
ATTORNEYS AT Law OCT 0 R 200}

MAIUNG ADOARIIC,

POST OFFIGH Box {Oia

& 7 I] Dade CITY, FLOAIDA 93526
Ke LY ra.

FONG: (352) 567-2442
FAX: (952) S67-2475
LARaAY &. HeAScE
JAMes E. KELLY

p-

October 3, 2001

Easi‘Pasco Medical Center
7050 Gall Beulevard

Zephyrhills, Florida 33544

Attention: Medical Records

Re: My Glient/Your Patient - Kevin L. Burns
Date of:Birth - 3-25-84

Dear Sir or Madame:

Please be advised my firm represents Kevin Lee Bur
Medical Autharizatlon Release, which has ‘been 5 , the

Natural Guardian of Kevin ‘Burns. |.am Interested’ In obtaining any and all records
peraining to my clients admission at your facility on May 19, 2001. or May 20, 2001,

Thank you for your assistance regarding this matter,

Very truly yours,
HERSGH & KELLY, P.A.
By: sia ras ak,
oe
JEK/sss
Enclosure
Covnie\ New abovt He Va ou COPIED

OCT 2 2 20

A
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as

9/04/09 : HTE cap . PAGE “1
LS:38:42 an SRD INFORMATION OLis20700
Call Number: 011390700 Call Type.: 290 Suicida, Threats Police
Entry Day/tm: §/19/01 17:21:56 290 Suicide, Threats Police
_, COON : . Agency... 0... : 002 PASCO cotry syER | vi
Call ‘Taker: 1216 BLACK ~~ DELIA SOCTKRO7S{ 7
Dispatcher, ; ‘1524 GOTTSMAN. HARLEY SODISPO03S2
. NARRATIVE
ARADVISED RECEIVED CALI, FROM-17 yao : 17:23:00
ADVISED’ IT'S ORAY. AND HUNG UB ° , 17:23:00
FR-ADVISING THAT SUBT DID cuT utIs WRIST 17:23:00
OPR 3 , 17:23:00
ATTEMPTING To GET LAND LINE 17:23:24
OPR 3 17:23:24
F/R INDICATED THEY ARE STAGING, OPR12----g2 Ls 23:53
SPEAKING TO A MALW SUBJ ADIVSING THAT. HE CUT HIS ARM 17:25:00
.BOT NOT BLEEDING ‘HUNG “Up. ON ME 17:25:00
KEVIN -BURNS NOW . ADVISING THAT HE IS BLEEDING ' ‘ 17:26:14
FR LOST ° : a ; 17:26:14
SUBJ ADVISING ‘pen DOING Acip 17:27:18
“OSE rr SED 27:27:18
SSVIN POT THE PHONE DOWN Noy SEEING ORB 27:39:14

= JUVENILE

Reference:

“s-5 5

: Raport #: 01-0240a4-07
BAKER ACT

Data; {d2t/09
i whee tg . Raborting Porton Sai 004]
Nama: KEVIN LEE BURNS -
Race: WHITE Sex: MALE

ddrags: 74: DOG; 3/26/84 Aga! O17
Addrass: 7420 ORCHARD OR, ZHL, FL aga.
Residence Phona: (aaiegaaten

Business Phonas
Emplayar Name:

Occupation: UNEMPLOYED {~~ fo Ch MT jwy f

EAVD WEL CAE
[Pasco Shartft's Offlca par af Continuation Shaat (1)
Gasa Rafarance: BAKER AGT me

Rapart #; 04 -029004-0004
Data: as/20/04

Psanulg with Nevin, he was unab! Ve (AG 17 of 24h. [S .
Case 1:25 BROOM g RAM YH st. KGS eS he fe D

. Kevin also said he did not

AT
Upon Speaking with Glen, he told me Kevin had never tried ee
fo hurt himself before. Glen also told ma he did nat knaw why °
Kevin had cut his Wrist.

While Interviewin Kavin, | noticad Seyéral piles of .
ons a eal and when questioned avin admitted to oo
stealing the materials from NUMESrous construction sites.

Sergeant Rawan was at the scene and upon discovery of the
construction material, contacted Detective Greiner,

[Pasco Sharifra Offica a Cc

Ontinuation Sheat (1) |
Case Referanca; NARCOTICS VIOLATION .

Raport #: 01-022099-09¢
Data: 05/0/¢

search o
along wi
on the

> consent. During the
f the vehicle, the above listed items had been found
th some marijuana. A presu

Motive test had been done
marijuana and the results were positive.

locations the -
olen from (see Detective Grein
report),

Detective Greiner, after his interview, transported Kevin
Burns to the Land O'
booked for misdeme

| ta him cutting his
wrist (See case #01-23094). | Placed the evidence into the
Dade City evidence chute. No further act

writer,

Narrativa raad hank FA DORA Ww 9442 vb Gentine 4
Case 1:25-cv-00028-AW-MJF _Document1 — Filed 01/27/25 Page 18 of 24

p-l6

E i | Administrative :
Reporting Membar - ERIC BROWN CUS: 2054 3 Reporting Data: 05/20/0 i
Suparvisor; THOMAS ROWAND CSIS#: 367 Dale approved: 05/20/04
Status: CLEARED BY ARREST
Rafacrad to; §A.0, EAST
[Pasco Sheriff's Office | Continuation Sheet (2) | Report #: 7 -099080 A000
Casa Raferanca: NARCOTICS VIOLATION Bate 05/20/01
L wal | Narrative | 7
On the above listed date and time, | arrived at the above
.-locatian to assist Deputy Hink. § photographed the suspect's
vehicle, stolen property, and the auiside of his residence.
| male contact with pdssible Victirn / Mar rnemeseaiaeg via
telephohe, tle was not aul to identify the property allegedly.
stolen from his shecl. Miiesitirrtic@e@Rtke did not file a report
at the time of the theft, eater advised he will
contact with Pasco County Sheriff's Office at a later date
with the compléte list of missing property.
| also assisted Detective Greiner with the recovery of
the Stolen property. Case referre *= the Property Crimes
Unit. No further action.
ett .
Nar rative read back to 2019 by 1674 at Station 9
[ Administrative ; | |
Reporting Member - VERLE JOHNSON. CJIS#: 2019 Reporting Date: 05/20/04
Sugerviser: THOMAS ROWAND CJIS#: 367 Date approved: 05/20/01
Status: CLEARED BY ARREST
Raferrecl to: 5.4.0, EAST
Add ten seized items: Case was previously cleared with bn
arrest. .
Original document af record i is on file in the Records
Unit.
L : Aya Administrative | “4 : ~ |
Reporting Member - STEVEN GREINER CJIS#: 645 Reporting Date: 05/24/01
Supervisor: ORIGINAL ON FILE CJS: 9997 Date approved: 00/00/00
Status: CLEARED BY ARREST

Refarred to: S.A.0, EAST
JUN-20-2000 22:4
ae 1:25-cv-00028-AWEN IF Document 1 Filed 01/27/25. P

4K PPPS OF 24 bone

EXHIBIT NO. B7EXHIBIT NO, BSE
= 4 _13.12809260000140 PAGE: 28 OF 45 AGE: 8 OF 13
INVESTIGATION: On 05/19/01 at 1900 brs. I was called out to assist Cpl Hink in an investigation, I
cespanded to the Dist, II office and met with CpL Hink and his traines, Deputy E. Brown. I was advised post miranda ©”

by catd Mr, Bums had requested and agreed to point out several construction sites that he had burglarized. Mr. Bums

had been axcested for possesgion of marijuana and he had also cut his wrists earlier in the day. His interview ad a
transport was done with the iniowledge and consent of his father. I took custady of Mr. Burs and responded to tha

Wealsy Chapal atea. Ho advised me he stale abox of caulk and a door that was indide the garage of this home mder

construction. 1 observed that all these homes liad thi walls and roof completed, but did nat have doors or windows
hung yet.

: C4203
Ltook bis handouts off and he voluntarily pointed aytallithetoien propesy OL Pai
OFFENSE: NARGOTICSVIOLATION .. ... _.VICHIM:_. “STATE OF FLORIDA _CASENG: av-2700%"-
; 7 “aids boi and adelf holder. Revie slo aitvued cede
box, 2 blue drill holder and a car amplifier in his home

were also stolen. He said he stole these items fiom Wpabatyy
Gikens residence. A check with Iekvéhtins, showed he was not missing any property.

We loaded most of the stolen propetty onto the agency wrecker. Mr. Burns admitted stealing approximately 30 sheets

of plywood fram another location’ Tha plywood had already been. used to construct a large room. at the rear of this

residence, The room was approximattly 15' long by 12' wide and it would have been very difficultto rip apart the

plywood to seize it as evidence. Deputy Peteck took photographs of all the evidence. The department wrecker ‘

assisted in impounding the stolen property and transporting itte asecured areca. Lmet Mr. Glen Burns. Heconfirmed {+
that be had given pexmission for his som to be interviewed. He said he thought that his son was getting the | ) 7
construction materials fioni the job sites he had worked on. He said he thought theze materials were serap or at times
his son’ would tefl him he porchssed the lomber and other materials. Kevin Bums stated he would use his father's
van. to steal construction materials from job sites while on the way hame from his regular job at Residential Drywall.
He then agreed to lead me to other lacations where he stole more materials. bacle to the area of SR. 54 and |
75. Mr. Bums Wee asked about.why ho bad cut bis wrists and if he was really trying to Jal bimacl carlitr this date.
He told me he wes not really trying to ISll himself md he was only trying to got ottontion. He said he was a fittle

not get a giclftiond and he said he stole all these materials to build bis own,orn, in. tae

with him if he had bis own place. He said ha never wanted to lal hirnsalf Lasiced him

used drugs a wad ha roplied he was high ob “rolls” earlier in the day, but that he-was finenow. He said
bis “high” went away

Fic said he was unable to remember any other construction site thefts.

I orted hin to Land O7Lakes Detention Center and he was:

ged. for the posscssion of mari 0
4, thorodgh computer check revealed none of these locations which

Mr. Bums pointed our had any record of any
reported crimes. Duc to nowe of these offenses hemy reported, I was not able to charpe Kevin with any crimes at this
“time. A commuter check of the car amplifier yielded negative results, I completed a property rectipt for all the
necovered stolen property and I also catered Kevin's written and taned confessions Into evidence, Kevin also signed
_a waiver of tights form,
Cader pesaltles of pecjury, I dootare dint Ihave read tha forcgatng (docuotent) md thar the faers || CORES TO: J
| sated jn it are true, to tha beat oF pay knawledga. a.
SIGNATURE: DATE: 4-1}-4] RETAINED BY:
aaa DET. S. GREER _ CUS: 643 | RELATED REPORTS:
suesavisor: AUssT Sy, RAT cus, KT _| pate: SL2¢ eu | bc, 02 OF 04 |

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Case 1:25-cv-000

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gr tS "Pasco Cointy SEBtifi’s Ofice

CO : TAU ATION & Me

EXHIBIT NO. BYE
L3it 8Q'926000014Q PAGE: 36 OF 45
Client #; 54288
HARBOR ENE RGENCY sr
OGRESS NOTE
Chis is a S¢venleen-year-old Male Presenting on javoltin
0 BA5S2 due to Cutting wrists while unde

RVICES
¢ oi MMe Ley

lary legal status

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t the influence of Hallucé

calth crisis assessment due

aS Transported by law
MENTAL STATUS
ls alert, oriented to time, place, Person and situation. {s responsive and yet, f udement is Poor. Memory appears
Intact. Denies paychatic symptomotolagy and none ig Evident at assessmenit, Retiabitity is Considered poor,
BLAGNOSIS
292.84 Halluci 1) j

Melissa M. Galite x ee

ner
_ Date: 05.209 |
Star Time: ( 107 ‘End Time: 0210
__ Service Code: 33>
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Ss = ao ote ats a deckare that I bye tread fhe fhreguing = ass F tt FO: |
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DATE 5 144.0 | RETAINED BY
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Bpceetieact arn, Ss tm
Aaee COUNTY SHERIEF's OFFICE.

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Case 4:20-cv-00541-WS-HTC Document 28-6 Filed 07/09/ age 72 Of aR Re. shes
Ay oe ae 13180926 60900140 PAGE: 33.08 45

paseo. county Sheriffs Ofes_ "PROPERTY RECEIPT. >?
2. PAGE We OF L a

1. TYPE OF GASE F Aceon STOLEN PropeRtl,
4! PROPERTY CLASSIFICATION: ff EVIDENCE _ CL. LOST/FOUND O' SECURITY >: 3 9
2. GPECIAL INSTRUCTIONS —- aoe ANT ws — 0.OB 4
LOFORTAIAL . 1 RETURN TO OWNER sane yy BAR Cl ADULT
Ceeno Tos «Ci TOBE DESTROYED JB SuvENILE ©
5, OWNERS NAME ‘ADDRESS Yo” PHONE NO.
© byt need oo .
7 DISCOVERED BY: : ,ADDRESS Z7312 Howard Avec. | PHONENO. ;
PESO.» gen Di gee ciTr QoL ALS}?
3 ADDRESS OA LOCATION WHERE PROPERTY WAS LOCATED DATER TIME
wT YA0 oneyired Dr. besser caret FL | S77 -O)._ 213°
ct, QTTEMS” | - 1.TY es 71 DESCRIPTION OF PROPERTY eee], tie
wy ! a ‘ ’ 2 ee 8 :
i {| DAYAR
iid 2 \e Zn ~/Y '
fae 3. z LY «10 ; 3 4 *, . oe
Seek if 2x8 J. | Mage Coucreye LARE
Jide sf 7 PEE Pik bop
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[emi l yo |e. | Pave PALL orp EV
dee V2 10 We] Tce Lat
Pqee tL Crews Ar Game We) (Heb Liyriten FES 5/0 :
Be E Ta. | CERTIFY THAT 1 AM THE OWNER OF THE ABOVE’ - 74.1 CERTIFY THAT THE PROPERTY TURNED IN SY ETO |}
Jena Ne LISTED PROPERTY TAKEN FROM MY POSSESSION: THE PASCO COUNTY SHERLEF'S OFFICE Is NOT MINE.
Ts x
| 18, THE ABOVE LISY “Ze. PROPERTY IMPOUNDED BY ME INTHE OFFICIAL PERFORMANCE OF DUTY AS A,
Paes ot
Prat Ho cusa he SHELA CAE! presi A
Gf , 7 . $ FRINTIO WAM
a aye ounoeD aay OFFICE ° 17. Ie 7ENIDBNCE LOCKER® 4
Fe af i |
Be BLOCKS 1a THROUGH 21 AND BLOCK 23 ARE FOR IDENTIFICATION DIVISION USE ONLY "
S aE. 18, DATE 6 TIME REC. r 19. TEM # 20. TRANSACTION ° Fy, ACKNOWLEDGING SIGNATURE
ES : 3
Ea
' * ae * is
eee C
Uae 4 aa, THE GeEMIFIED OWNER, RECEIVED THE ABOVE, | 28 DATE & TIME REC. BY PROP. CLERK | ) ~~
. bp | .lerro PROPERTY: A : : :
fie zo | x , * [24 DATE & TIE RELEASED : | 9. ~

Case en:Gy- 20028 AW MIF ocumentt | Filed

01/27/25 Page 23 of 24

MURRELL CUR roe O4ALE UF FLUHLDA:

BERNIE McCABE,
Florida,
Florida,

State Attorney for "the
in and for Pasco County, prosecu
in the said County, under oath,

KEVIN LEE BURNS

-in the County of Pasco and State of Florida,

and the 30 daws of April, in the year of
one, in thé County and State aforesaid,

invitation or license. did , enter. .Qn,,
structure, - the /: AWAITS E a
Inc., located:
Chapel, in the
Scott and/or Cet
offense therein,

Das: 3328 War Rdniral Drive,

>

“Tac:
the said structure

Sixth Judicial Circuit of

ting for the State.. of

Information makes that

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our Lord, two thousand

unlawfully and without
-cemain

eo tteiaad/or Central Drywall,

im that certain

fin the City of Wesley

ASS £ eyesei ay the property of Wayne
fie: see ‘the: intent to commit an

at the time not open to the
public; contrary to Chapter 810.02(3), Florida Statutes; and
against the peace and dignity of the ‘State of Florida. [C3]

ARALT OF THE coveT PEloeD AND CANE Pree A(Y Not) _

Asan

‘Parcel ID

Classification

Mailing Address
ROVER RANDY J & CHRISTINE P

PRUNT
Mi

GUN Y

LROPERTY 7 \FeRAneA
OUT
1U-26- Q YQ50-03200-0100 (Card: 1 of 1)
00100-Single Family /
Property Value

ae

Root Struct ctoreee ble or Hip

Tile opsiidod Frame Stucco

Ag Land
5328 WAR ADMIRAL OR Land 6, i
WESLEY CHAPEL, FL 33544-5505 Bullding - $190,363
iii sheet Sante testees Eugts thea do, Extra Features $1,004
ae Physical Address 4
@ pewmmsonracoane, | tsi va eres
& Rg WESLEY seeapeieartan on gan cea Assessed (Nan-Schaal Amendment 1) $138,690
Legal Descriptian ‘(First 200 characters) Homestead ~£25,000
Sse Plat for this Subdivision Additional Homestead -$25,000
LEXINGTON OAKS VILLAGE 32A AND a
. VILLAGE 33 PB 40 PG 132 BLOCK 32 Non-School Taxable Vaiue $88,690
; LOT 10 OR 6395 PG 1040 School District. Taxable Value $113,690
Jurisdiction Warning: A significant taxable value increase may occur when
Pasco County, Board of County sold.
Commissioners Click here for details and info. regarding the posting of
exemptions,
Land Detail (Card: 1 of 1).
Line Use (Code — [Description Zoning Units Type Price {Condition (Value
i | o100R | LPi-2 SFR MPUD | (5,248.00 | SF | $5.05 | 1.00 | $26,502
Additional Land Information
Acras Tax Area FEMA Code Neighborhood Coda(s)
O42 i... 36x x LXGK
pS en Sketch Bullding Information - Use 0100-Single Family Residential (Card: 1 of 1)
wear Built 2002 : Starias 2.0
erior Wall 1

Exterior Wall 2

Concrete Block Stucco
Roof Cover

Asphalt or Campasition Shingle
nterior Wall L  . Orywall Interior Wal! 2 None
Flooring 1 Carpet -Flooring 2 None | A
Fuel Electric Haat Farced Air - Ducted ne
{& Central Baths 2.0 -
rsKs hasta {Pinned cutee =

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wa

DATE:
NAME :

ChE, fi

aS Vi Gare 35 a, ACIS T: .313, 99

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Document1 Filed 01/27/25 Page 240

WHLSSLON DATE: §/39 /9) THe iagaoe
PROGRAM: 34 -TASC SEEAVT ORAL, _REALTH Gary INSTITUTE
COURT CASE 4, 01-126 70LAES

“ BTOSs*CxaSograr, ASSESSiqury

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IDENTIFYING INFORMATION, Kevin is a 17-yaar=o14q single white al
WiEh brown “Yes and black has = aa

at a alr. He dentas having any tattoos or
prerced bady Bares. tia wrist from a
Tecent Buicida attempe.

REFERRAL, Sourcy; Kevin wag re

ferred by The Department OF
Juvenile Justice,

His counselor Chere ig Margit Chipman,
PRESENTING PROSLEN/ GHIEE COMPLATNT/syaEr gus. Kevin wag referrag
Ue ko k anger to self, criminal activity and SUbstance abugda
He wag brought to the Detention Center Fr

Possesdion, respass ang larceny.

MEDICAr, HISTORY; Kavir reports kis heal
recelving Medical care for a cut lef

for that following a Suicide S€tempe. pa hac atanlas DUC in his
Weist, te Was than Bakar Agted Eo Tha | a ic

Juveniis Detention Canter, ys Teport
i 1 al aga 16, He denies
He danas any family history

of major Medicay Problems.

DEVELOPMENrar, HISTORY: &
WENT AL, ERALTY TREATM EAD HISTORY}

Kevin was Baker Acted to The
Harbor on 5/20/01

Falldding a suicide where he cut hig Left wrist

ale knife. He denies any Gther efita. health tCreatmeqi
history * : . me ,
WARE: “s/Ba/q7 wT Re Oo BAG Tyg gs +
NAME ; Burns, Kayin CASE #0dsaagq

' LEGAL HISvorY. Kevin ig currently chargjea with’ saver, counts Se

Teports having Calen, Materials such’ ag Blywood, ,EWo-by~ Fours,
ahinglag and dry wall mud. He hag 2/23/01 marijuana BOSseagion,
nazcatia equipment Possession and Grespadgs and larceny Chargeg
for which Ra has been Placed on a diversionary program. Other

i alk oe tee Po
5/29/07 a PAGE 6 OF
Burna, Karin EASE #0054248
me be- lk g PAGES: oF 5. So
of CASE, H005496¢ .
AXIS III, None, . : + .
AMIS IV: Lega} charges, UIAGNOSTEC TMPRESSIONs ; 20 i

* Conduet disorder,
404.90 - Cannabis depéadence
-40S.3q - Hallucinagan 2.
